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 6
   Attorneys for Defendant and Counterclaimant,
 7 DBEST PRODUCTS, LLC
 8                       UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10                                SOUTHERN DIVISION
11
   GYT YUCHENG TRADING CO.,                   Case No.: 2:21-cv-04758-JVS-JDE
12 LTD., a foreign limited liability
                                               SUPPLEMENTAL DECLARATION
13 company,                                    OF EHAB M. SAMUEL IN SUPPORT
14                                             OF DBEST
           Plaintiff / Counterclaim Defendant, PRODUCTS, INC.’S MOTION
15   v.                                        TO COMPEL RESPONSES TO
                                               DISCOVERY AGAINST
16                                             GYT YUCHENG
     DBEST PRODUCTS, INC., a                   TRADING CO., LTD. AND REQUEST
17
     California corporation,                   FOR SANCTIONS
18
           Defendant / Counterclaim Plaintiff. Magistrate: Hon. John D. Early
19                                             Date: April 7, 2022
                                               Time: 10:00 a.m.
20                                             Courtroom: 6A
                                               Discovery Cutoff: June 9, 2022
21                                             Pretrial Conference: January 17, 2023
                                               Trial Date: January 31, 2023
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 1                       DECLARATION OF EHAB M. SAMUEL

 2         I, Ehab M. Samuel, declare and state as follows:

 3         1.     I am an attorney licensed to practice in all courts of this State and

 4   partner at Hackler Daghighian Martino & Novak, P.C. in Los Angeles, California. I

 5   am one of the attorneys of record for Defendant and Counterclaim plaintiff dbest

 6   products, Inc. (“dbest”) in the above captioned matter. I make this declaration in

 7   support of dbest’s motion to compel responses to discovery against Plaintiff and

 8   Counterclaim Defendant GYT Yucheng Trading Co., Ltd. (“GYT”) and request for

 9   sanctions (“Motion to Compel”). Unless otherwise stated, I

10   have personal knowledge of the facts set forth herein.

11         2.     I have been attempting to meet and confer in good faith with GYT’s

12   counsel on the issues that are the subject of dbest’s Motion to Compel since at least

13   January 28, 2022. dbest initially relied on GYT’s representation that it “will produce”

14   responsive documents in connection with RFP Nos. 7, 12-17, 21-25, 27, 32-33 and 35

15   and did not identify them in its January 28, 2022, letter. The scope of dbest’s issues

16   with GYT’s discovery obligations expanded to encompass the failure of GYT to

17   produce documents in response to these RFPs only after GYT’s initial representation

18   that it would produce all responsive documents proved to be untrue. As soon as I

19   learned that all responsive documents would not be forthcoming, I immediately sought

20   to meet and confer with GYT. (See Dkt. 36-1, ¶¶ 24-25, Ex. 15.).

21         3.     Despite my meet and confer efforts, GYT did not respond to dbest’s

22   request for meet and confer by e-mail, telephonically or Zoom; instead, on March 1,

23

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 1   2022, GYT produced documents none of which was responsive to RFP Nos. 7, 12-13,

 2   15-17, 21-25, 27, 32-33 and 35 and claimed that it completed its production.

 3         4.     GYT attempts to deflect from its own discovery violations by

 4   complaining about resolved issues. dbest produced to GYT the settlement agreement

 5   with Amazon and communications with Amazon prior to filing the Joint Stipulation.

 6   GYT still raised these issues in the Joint Stipulation.

 7         5.     GYT does not provide an example of any (1) documents or e-mail

 8   communications it produced in connection with RFP Nos. 12, 17 & 21 on the ‘700

 9   patent, (2) documents or e-mail communications it produced in connection with RFP

10   Nos. 13-16 that refer or relate to dbest, (3) documents it produced in connection with

11   RFP Nos. 22, 32 to support its assertion of non-infringement, and (4) documents or e-

12   mail communications it produced in connection with RFP Nos. 23, 24, 25 & 17 that

13   refer or relate to its patent misuse, unclean hands, or other GYT claims or defenses.

14   This is because GYT has not produced any responsive documents to these requests.

15   While dbest has produced about 165 emails that refer or relate to GYT, GYT has

16   produced merely two emails from Amazon.

17         6.     In its response to RFP No. 1, 3, 19, 20, and 21, GYT unilaterally narrows

18   its disclosure obligations to “ASINs B07T63S2WP, B08CX9VXPT, and

19   B08JYB8MB4 on the Amazon.com platform”. In doing so, GYT is intentionally

20   withholding responsive documents relating to its sales activities on Walmart’s website

21   and perhaps others.

22         4.     Since at least as early as June 15, 2014, dbest began marketing and selling

23   its patented portable carts or hand trucks bearing the TROLLEY DOLLY trademark

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 1   in United States commerce. dbest has used, throughout the United States, the

 2   TROLLEY DOLLY trademark on a regular and continuous basis in connection with

 3   portable carts or hand trucks with removable fabric container.

 4         5.    In addition to its common law trademark rights throughout the United

 5   States, dbest is the owner of all right, title, and interest in and to the word mark

 6   TROLLEY DOLLY®, U.S. Trademark Reg. No. 5,348,107, filed on July 6, 2017, and

 7   registered on November 28, 2017, and U.S. Trademark Reg. No. 6,248,551, filed on

 8   November 25, 2019, and registered on January 19, 2021.

 9         6.    On or about June 2018, dbest submitted a complaint of trademark

10   infringement with Amazon (Complaint ID: 5167373501) in connection with GYT’s

11   use of the TROLLEY DOLLY mark in connection with the Accused Product (ASIN

12   # B07B4XSW9L).

13         7.    Notwithstanding the notice of infringement and dbest’s rights to the

14   TROLLEY DOLLY mark, on information and belief, GYT continues to

15   impermissibly use, directly or indirectly, the Trolley Dolly® trademark.

16         8.    GYT has failed to produce any internal emails, failed to specify what

17   search terms it employed, if any, for its searches, and refused to search for the term

18   TROLLEY DOLLY (dbest’s product covered under the ‘700 patent).

19         9.    On or about February 15, 2022, dbest learned that the following Accused

20   Products previously offered for sale on the Amazon.com website were being offered

21   for sale on the Walmart.com website under the Winkeep brand:

22               a.     Shopping Cart, Super Loading Stair Climber Cart 220 lbs Capacity

23         Grocery Foldable Cart with Extra Large Shopping Bag Laundry Cart with

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 1         Adjustable Bungee Cord, (e.g., Amazon ASIN #: B07B4XSW9L; Walmart

 2         UPC # 294582309, 783651864);

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13              b.       Shopping Cart, Super Loading Grocery Cart 220 lbs Capacity

14         Grocery Shopping Foldable Cart with Extra Large Black Shopping Bag

15         Portable Grocery Cart with Bungee Cord, (e.g., Amazon ASIN #:

16         B08CX9VXPT; Walmart UPC # 396176936, 689381433, 350503084,

17         894667964);

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10              c.    Shopping Cart, Heavy Duty Stair Cart 220 lbs Capacity Grocery

11         Cart with Large Shopping Bag Folding Shopping Cart with Adjustable Bungee

12         Cord, (e.g., Amazon ASIN #: B07B4XSW9L; Walmart UPC # 294582309,

13         383685556, 953630218, 455022324, 411183011, 400688021):

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 1         10.   The Accused Product sold under GYT’s Winkeep brand incorporated the

 2   Trolley Dolly trademark. For example, one of the products’ name was called:

 3   “Shopping Cart for Groceries, Super Loading 220 lbs Capacity Stair Climber Folding

 4   Shopping Carts with Shopping Bag, Foldable Groceries Trolley Dolly Carts with

 5   Adjustable Bungee Cord for Seniors”:

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18         11.   Similarly, another Accused Product sold under GYT’s Winkeep brand

19   incorporated the Trolley Dolly trademark in the name: “Winkeep Shopping Trolley

20   Dolly Cart, Folding Shopping Cart 220 lbs Capacity with Adjustable Bungee Cord:

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            12. In total, the following are Walmart product codes for Accused Products
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     sold by GYT’s Winkeep brand: 953630218, 562122987, 294582309, 874790961,
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     375845982,    894667964,    113237527,     383685556,       835979010,         472513800,
17
     400688021,    921139221,    248180108,     325334072,       786218635,         396176936,
18
     350503084,    165095613,    136750574,     789840449,       447260623,         337860707,
19
     267423292,    958556543,    250044379,     777220855,       238953478,         524813868,
20
     439902043, 937572687, 432836131, 194423770, 689381433, and 148651973.
21
           13.    On March 3, 2022, I sent an email to GYT’s counsel stating that DBEST
22
     intended to file a motion for leave to amend, to add an allegation of patent marking
23
     and to add claims for trademark infringement and unfair competition. I attached
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 1   pictures of the Accused Products found on the Walmart.com website that show

 2   unauthorized use of dbest’s TROLLEY DOLLY trademark. I proposed that we meet

 3   and confer on March 7 to discuss these products, when we were already scheduled to

 4   meet and confer on other discovery issues. A true and correct copy of my March 3,

 5   2022 email to GYT’s counsel Sandra A. Hudak with the corresponding attachment is

 6   attached as Exhibit 27.

 7         14.   On March 7, 2022, counsel for the parties met and conferred on the

 8   Accused Products. During the meet and confer, GYT’s counsel represented that GYT

 9   was not the source of the Accused Products being offered for sale on the Walmart.com

10   website. On March 8, 2022, I sent GYT’s counsel a draft of dbest’s proposed first

11   amended counterclaim. A true and correct copy of my email to Ms. Hudak with the

12   corresponding attachment is attached as Exhibit 28.

13         15.   Attached as Exhibit 29 are true and correct copies of print outs from the

14   Walmart.com website between February 15, 2022 and March 8, 2022, demonstrating

15   exemplary unauthorized use of dbest’s TROLLEY DOLLY trademark in connection

16   with GYT’s accused products and/or GYT’s sales activity under the “winkeep” online

17   store name on Walmart.

18         16.   Within days of sending the draft to GYT’s counsel, the listings for the

19   Accused Products on Walmart.com were changed. The words ‘TROLLEY DOLLY”

20   no longer appeared and the Winkeep brand name had been changed to a different

21   brand name, “Popolic.” The manufacturer’s product numbers on the listings, however,

22   are the same product numbers that appear on the old listings with the Winkeep brand

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 1   name and unauthorized use of “TROLLEY DOLLY.” A true and correct copy of an

 2   example of the changed listings is attached as Exhibit 30.

 3         17.   GYT produced the following marketing materials in response to dbest’s

 4   requests for documents production:

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 1   All numbers prefixed “GYT” accompanying such illustrations are production

 2   numbers assigned by Guangzhou to the marketing materials that contain the

 3   illustrations. Identical marketing materials are used in the listings for the accused

 4   products on Walmart.com as seen below:

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 1         18.    GYT never sought an extension of time so that it could perform an

 2   investigation into the Accused Products sold on Walmart.com.

 3         19.    On March 8, 2022, Ms. Hudak emailed me “to request an 11-day

 4   extension (until March 21, 2022) for GYT to provide its portion of the

 5   stipulation." Ms. Hudak did not reference that she needed an extension to conduct any

 6   sort of investigation. Attached as Exhibit 31 is a true and correct copy of Ms. Hudak’s

 7   March 8, 2022 email to me.

 8         20.    The same day, on March 8, 2022, I emailed Ms. Hudak to request “a call

 9   to fully understand” the need for the extension given that I had written the motion in

10   three (3) days. Attached as Exhibit 32 is a true and correct copy of my email March

11   8, 2022 email to Ms. Hudak.

12         21.    In response to my email, on March 9, 2022, Ms. Hudak emailed me to

13   say: “We don’t think a call is necessary; we are simply asking for an extension of time

14   as a professional courtesy because we are busy with a number of filings due in other

15   matters this week and next (as well as the opening claim construction brief due in this

16   matter on Monday)." Attached as Exhibit 33 is a true and correct copy of Ms. Hudak’s

17   March 9, 2022 email to me.

18         22.    I explained that “we cannot agree to an 11-day extension” as “[t]hat puts

19   us at risk of having the hearing pushed even further to April 21or 28, which would be

20   too close to our trial in another case.” Attached as Exhibit 34 is a true and correct

21   copy of my March 9, 2022 email to Ms. Hudak..

22         23.    A meet and confer discussion took place on March 9, 2022 between

23   counsel regarding GYT’s request for an extension. At no point during the meet and

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 1   confer call or in subsequent correspondence between the parties did Ms. Hudak ever

 2   relay that an extension was needed so that GYT could investigate the Accused

 3   Products on Walmart.com’s website.

 4         I declare under penalty of perjury of the laws of the United States that the

 5   foregoing is true and correct.

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 7
     Dated: March 24, 2022                            /s/ Ehab M. Samuel
 8                                                    Ehab M. Samuel (SBN 228296)

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